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           Exhibit 20
             Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 2 of 65 PageID #:3579




                1 STATE OF ILLINOIS            )
                                               )   SS:
                2   COUNTY OF C 0 0 K          )

                3         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                              COUNTY DEPARTMENT - CRIMINAL DIVISION
                4
                    THE PEOPLE OF THE STATE
                5   OF ILLINOIS,

                6                          Plaintiff,

                7         VS.                                   No. 08 CR 10502-01
                                                                No. 10 CR 08092-01
                8   ANNABEL MELONGO,                            No. 10 1110476-01

                9                          Defendant.

               10                REPORT OF PROCEEDINGS had at the hearing of the

               11 above-entitled cause, before the Honorable MARY MARGARET

               12   BROSNAHAN, Judge of said court, on Tuesday, the 20th day

               13 of April, 2010, at the hour of approximately 11:00 o'clock

               14 a.m.

               15         PRESENT:

               16                HON. ANITA M. ALVAREZ,
                                 State's Attorney of Cook County,
               17                BY:  MR_ ROBERT M. PODLASEK,
                                 Assistant State's Attorney,
               18                     On behalf of the People;

               19                HON. LISA M. MADIGAN,
                                 Attorney General, State of Illinois,
               20                BY:  MR. KYLE FRENCH,
                                 Assistant Attorney General,
               21                     On behalf of the People;

               22                MR. NICHOLAS J. ALBUKERK,
                                      On behalf of the Defendant.
               23
                  Laurel E. Laudien, RMR, RPR, CSR #084- 001871
               24 Official Court Reporter - Circuit Court of Cook County
                  County Department - Criminal Division(773) 674-6065

                                                   B-1


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MELONG0_006601
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                1         THE COURT:       Melongo.

                2                                           (SHORT PAUSE.)

                3         THE COURT:       This is the Melongo matter.

                4                We have the parties back in court.

                5                May I have, Counsel, your names for the record.

                6         MR. ALBUKERK:       Nick Albukerk, A-L-B-U-K-E-R-K.

                7                My attorney code number should the Court need

                8 it is 37955.

                9                Judge, I just filed an appearance in this case.

               10   I motioned it up the other day, was it last week?

               11         MR. PODLASEK:       Yes.

               12         MR. ALBUKERK:       And T filed an appearance on this

               13 particular matter.

               14                Since -- at that time, my client was out of

               15 custody.       At that time, my client was earning a living.

               16   My client is no longer.          My client is now because of a

               17 new charge that just came, that just was -- she was just

               18   arrested for I think it was on Tuesday.

               19         MR. PODLASEK:       She was arrested on 4 - 14, your

               20 Honor.

               21         MR. ALBUKERK:       4 - 14.

               22                When she was arrested on that day, she --

               23         MR. PODLASEK:       The 13th, I'm sorry.

               24         MR. ALBUKERK:       13th.


                                                   B-2


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MELONG0_006602
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                 1         MR. PODLASEK:       4 - 14 she was in Bond Court.

                 2         MR. ALBUKERK:       In any case, she's obviously now in

                 3 custody.       There is a no bond hold currently holding her.

                 4                My client therefore has been rendered indigent.

                 5   Because of that, because I have some familiarity with the

                 6   case, at this point, I'm going to ask for appointment to

                 7   this case so that she can have counsel that is competent

                 8 and that is likely to finish this case off.

                 9                She would like me to remain as her Counsel,

               10    but, of course, she does not have the funds at this point

               11 or any means to pay for my services.

               12          THE COURT:      Where was she working prior to this

               13 arrest?

               14          MR. ALBUKERK:       My understanding is that she was an

               15 independent consultant, independent computer consultant

               16    who was doing independent computer projects and paid in

               17 that fashion, and plus she also had access to her parents

               18    back in Cameroon, was it?

               19                 Back in Cameroon who was also able to send her

               20 some money, she can no longer receive that money because

               21 of her incarcerated status.

               22          THE COURT:      Well, Counsel, at this juncture, I will

               23 take your request under advisement, and I'm not going to

               24 let you withdraw from the case at this juncture, but with


                                                   B-3


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MELONG0_006603
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                1 respect to the appointment by the Court, I will take that

                2 under advisement and give it some serious consideration.

                3        MR. ALBUKERK:        Thank you, Judge.

                4        THE COURT:       All right.      Now, I am in receipt of the

                5 fitness.

                6               Did we put the State's names on the record?

                7        MR. PODLASEK:        Judge, for the record, Robert

                8 Podlasek, P-O-D-L-A-S-E-K, on behalf of the State.

                9        MR. FRENCH:       Assistant Attorney General Kyle French

               10   K-Y-L-E, F-R-E-N-C -H.

               11        THE COURT:       There's several matters to deal with.

               12   The first one that was the BOX evaluation that I had

               13 ordered with respect to the Defendant's fitness.                     I am in

               14 receipt of a report from Dr. Mathew Markos indicating

               15   that he did examine Miss Melongo, and in his opinion, she

              16 is presently mentally fit to stand trial.

              17                The parties have a copy of that, I take it?

              18         MR. ALBUKERK:        I don't.

              19         MR. PODLASEK:        I have a copy of the letter, Judge.

              20         MR. ALBUKERK:        If there's an extra copy! I'd

              21 appreciate it.          If not, I'm sure the State -- oh, I am

              22 now in receipt of a copy.

              23                Thank you.

              24         THE COURT:       All right.      I also want to make the


                                                  B-4


CONFIDENTIAL-SUBJECTTO PROTECTIVEORDER                                                     MELONG0_006604
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                1 parties aware of this.            As you are all aware, I can't

                2 have any ex parte communications with anyone regarding

                3 the case, obviously with the attorneys as well as anybody

                4 else, so I'm going to tender to the State copies of what

                5     received in the mail           I will ask that you make copies

                6 for Mr. Albukerk, and a copy for yourself, and return the

                 7 original to the court file.

                8                   have some correspondence from the Stop

                    Illinois Corruption Group run by Linda Shelton dated

               10   March 25th of 2010.         It's a multi-page letter where she

               11   basically gives several opinions about how this case

               12   should run, how the court system should run in general,

               13   and how this case should be run in particular.

               14                There are in it some of these documents, she

               15 refers to Miss Melongo's website where apparently she's

               16 opining about the same thing.

               17                So I'm going to tender all this to the State.

               18 _gain, please make two copies and return the original to

               19   me.

               20                And to the extent that you have any

               21   communication or control over any other individual, I can

               22   have no communications with anybody other than the

               23   lawyers on this case regarding th is case and how it

               24   should be run.


                                                   B- 5



CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MELONG0_006605
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                                 So, okay.      Now there is also the issue of

                    outstanding subpoenas.          Miss Melongo, prior to you being

                    on the case, had issued I believe I counted them

                    approximately 40 subpoenas, and one of the problems that

                    I had early on was the fact that the subpoenas were not

                    reined in in terms of a time frame, so subpoenas were

                    going out to companies asking for any documents from the

                    Save-A-Life Foundation and no time frame specified, so I

                 9 believe that some of those companies or groups had

               10 contacted the State to lodge objections to subpoenas

               11 based upon the breadth of them or relevance.                    Other

               12 groups have sent me volumes of material.

               13                Also my concern was that Miss Melongo at times

               14 was abusing the subpoena process, subpoenaing documents

               15 that had nothing that I could see to do with the

               16   relevance at all of the charges here.

               17                So let me go through them and I will tender

               18 since you are now attorney of record.

               19          MR. ALBUKERK:      Thank you.

               20         THE COURT:       This is as to the case that had already

               21 been pending.

               22                All right.      Here are some documents from what

               23   appears to be the Berkeley Police Department.                   There's

               24 some communication from the Berkeley Police Department,


                                                   B-6


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MELONG0_006606
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                 1 also the Village of Schiller Park, Village of Glencoe, so

                 2 I will tender that to you.

                 3         MR. ALBUKERK:       Thank you.

                 4         THE COURT:      There's a subpoena returned from a

                 5   Guidance Software, and they are looking -- they are

                 6 tendering the in-case certified examiner detail for a

                 7 S-H-A-H-M-A, last name Mange, M-O-N-G-E, regarding her

                 8 particular certification, and that was in response to a

                 9 subpoena from           to Guidance Software, so I will tender

               10 that.

               11          MR. ALBUKERK:       Thank you.

               12          THE COURT:      North Montgomery Community School

               13 Corporation from Crawfordsville, Indiana.                   They say they

               14 have no communications with Save-A-life.

               15                And I'm going to direct Miss Melongo now that

               16 there is an attorney on the case, you cannot issue any

               17 subpoenas, period.           You do not have that authority.              I do

               18 not want you issuing one subpoena, period.                    And if you

               19 do, I'm going to find you in contempt of Court.

               20                There was a subpoena to Hilton Worldwide that

               21 conducted a search.           There's nothing there.

               ·2)               And again, my opinion is the majority of these

               23 subpoenas, the way that they were drafted are overly

               24 broad and possibly not relevant, but if these people have


                                                   B-7


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MELONG0_006607
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                 1 complied, then in the majority of the cases I'm just

                 2 going to tender it over.

                 3               There is a subpoena to Allstate, and again,

                 4 here's an example.          They are attaching some information

                 5 regarding a $3,150 grant payment by Allstate to

                 6 Save-A-Life from August of 2001.               How is that possibly

                 7 relevant to the charges here?

                 8               Again, all that goes to show is why I had bona

                 9 fide doubt as to her fitness in the first place for

               10 representing herself because she's got companies all

               11 across the country doing flip-flops, digging through

               12 records that go back years, and years, and years that

               13 have no relevance whatsoever to the charges at hand which

               14 is on a certain date and time, were these offenses

               15 committed that are in front of me of unauthorized access

               16 or destroying computer data, period.

               17                But I will tender that Allstate response to

               18 you.

               19         MR. ALBUKERK:       Thank you, Judge.

               20         THE COURT:       The State has a motion to quash

               21 subpoenas filed February 22 of 2010.                 I'm going to put

               22 that off to the side, so we'll deal with that when I get

               23 through these subpoena returns.

               24                There is a subpoena return from Citrix,


                                                   B- 8



CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MELONG0_006608
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                1 C-I-T-R-I-X, On-Line and tender that, some type of

                    forensic report.

                                 Again I have a subpoena, but I don't have any

                    documents here.        I think these are subpoenas Miss Melongo

                    filed with me to the School District of Philadelphia in

                    Pennsylvania asking for any communications between

                    Save-A-Life and that school District.               Again, no time

                    frames on it at all.

                                 Same thing to an individual Don Peters of

               10 Downers Grove asking him to appear in front of me on

               11 February 9th for testimony at 9 3 0 .              Again, another

               12 reason that I had bona fide doubts as to her fitness or

               13 ability to represent herself.

               14                You cannot command people to come to my

               15 courtroom unless it's set down for a hearing.                    So, again,

               16 you have no authority to issue subpoenas.

               17                There's a subpoena to the Illinois Department

               18 of Commerce and Economic Opportunity.                 She subpoenaed TCF

               19 bank.      Again, these are just copies of subpoenas without

               20 documents attached.

               21                The Illinois School Board, Schiller Park Police

               22 Department, to a person named Rita Mullens; America

               23 Trauma Society, St. Joseph Hospital, again these are just

               24 all subpoenas; Saquan Golar, S-A-Q-U-A-N, last name,


                                                  B- 9



CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006609
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                    G-O-L-A-R, from the Phoenix Police Department in Phoenix,

                    Illinois; to a Vincent Davis from Elmhurst; Milwaukee

                    Public Schools in Wisconsin, again no time frame on the

                    subpoena.      She's just wants everything that Save-A--Life

                    ever sent them.

                                 And Mr. Mike Winstead from Palatine; David

                    Stolerow (phonetic) from Round Lake, Illinois; Wachovia

                    Bank, Philadelphia; Miami Dade County Public Schools.

                                  We've got a lot to go, so you're just going to

               10 have sit tight.

               11          MR. ALBUKERK:       No, no, I just wanted to

               12 clarification.           Are these all from subpoenas or are just

               13 filed documents?

               14          THE DEFENDANT:       Those are just filed

               15          THE COURT:      Okay.    Miss Melongo, don't talk unless T

               16 ask you a question.

               17                 What I'm going through now are simply subpoenas

               18 she has filed with the Court, so I'm letting you know

               19   what's on file, and there are subpoena returns that I'm

               20 going to be getting to in a moment, more subpoena

               21 returns.

               22                 So she subpoenaed Miami Dade County Public

               23 Schools_       Again, none of these have any time frame to

               24 show a relevant period of time.



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006610
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                1                She subpoenaed the Law Enforcement Response

                2 Team Ebay Paypal Fraud Investigation Team in Utah;

                3 Douglass Brown from Atlanta, Georgia; Miss Carbeth

                4   Wilson, a paralegal from the City Board of Education,

                5   Chicago; Comcast IP Services in New Jersey; Santa Barbara

                6   County Education Office in Santa Barbara, California;

                7 Dane Neal in Lombard; John Donlovy in Dorset, Vermont;

                8   Carol Spizari in Grays Lake, Illinois, again commanding

                9 her to testify in front of me which is in appropriate;

              10 Illinois Department of Public Health, again commanding

              11 them to appear in front of me, from Springfield,

              12 Illinois; US Postal Service; Twitter; TCF Foundation; SBC

              13 Foundation and AT&T, San Antonio, Texas; Sprint, Overland

              14 Park, Kansas; Yahoo Legal.

              15                 All right.     I am returning or giving you a

              16 subpoena return from Yahoo Legal with some documents.

              17          MR. ALBUKERK:       Thank you, Judge.

              18          THE COURT:       she has likewise subpoenaed, but I don't

              19 have a return at this moment, the Motorola Foundation in

              20 Schaumburg; the Hilton Hotels Corporation, Beverly Hills,

              21 California; Comcast Foundation in Manchester, New

              22 Hampshire; Allstate in Northbrook; Abbott Funds, Abbott

              23 Park, Illinois; Royal American Bank, Bensenville,

              24 Illinois; South Montgomery Community School Corporation,


                                                  B-11


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006611
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                 1 New Marquette, Indiana; Guidance Software, Inc.,

                    Pasadena, California; Earth Link Regulatory Department in

                    Canada, some of these returns.

                                  I do have a subpoena return from Hilton

                    WorldWide to you.

                           MR. ALBUKERK:      Thank you, Judge.

                           THE COURT:      Citrix On-Line has replied.

                           MR. ALBUKERK:      Thank you, Judge.

                           THE COURT:      US Postal Service has replied.

               10                 Apparently she was asking the Postal Service to

               11 demand a Shahma Menge to come forward.                  They said the

               12 forwarding address expired in '08, they can't find her,

               13 so that subpoena returned.

               14                 The American Trauma Society has responded

               15 sending the annual report from 2003 regarding

               16 Save-A-Life.         Again, 2003, what relevance does that have

               17 to our case?         But I'll tender it.

               18                 There was a subpoena return from a David

               19 Stolerow in Round Lake, Illinois that says return to

               20 sender.       I will give you that.

               21          MR. ALBUKERK:      Thank you.

               22          THE COURT:      There's a letter from the National Guard

               23 Bureau out of Arlington, Virginia addressed to Miss

               24 Melange.       Basically, they are going through the


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006612
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                1 legalities of what she would have to do and they cited

                2 all kinds of Army regulations, et cetera.                   Apparently

                3 they are not complying.            I will tender that to you.

                4                And there is a letter here that says Robin

                 5 Sukalo (phonetic) and it's a handwritten letter, and

                6 again, it appears that Miss Melongo was directing people

                7 to write up accounts of what occurred and send them

                8 pursuant to subpoena which 1 told her before she can't

                 9 do.

               10                You can't command someone to give a witness

               11   statement and send it to you.

               12                But in this case, 1 will tender it to you.                     It

               13 appears there was a statement witnessed by Miesha

               14 Hamilton and Darryl Smith, so I will give that one to

               15 you.

               16                I've got a return from the Miami Dade County

               17 Public Schools.          They say they don't have any results,

               18 but there's your subpoena return.

               19                And this is one that troubled me, and which I

               20 am not going to tender unless, Counsel, you give me a

               21 reason somehow thatit's relevant, and this is where T

               22 have a concern that Miss Melongo was simply using the

               23 subpoena process for her own means to get information

               24 wholly and completely unrelated to the case.                    She


                                                  B-13


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006613
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                1    subpoenaed information on herself, former student,

                2    Annabel Melange, and there was apparently some prior case

                3    from the UMKC Police.        University Missouri Kansas City I

                4    would imagine that's what that stands for, and there was

                 5   an incident she had there, so she was asking for police

                6    reports about her own case.          A burglary was the

                 7   allegation.     Of course, I have no idea what happened,

                     that took place in 2002.

                9                I cannot see any reason that that would be

               10    relevant to this case at all.           It just seems she's trying

               11    to get police reports about prior incidents involving her

               12    through an illegal means, so I'm going to hold that off

               13    to the side.

               14                Certainly you can make an argument to me,

               15    Mr. Albukerk, that they would be relevant, I would

               16    consider tendering those, but at this point, I don't see

               17    how they would be relevant.

               18         MR. ALBUKERK:       My client has just whispered in my

               19    ear and explained to me why they are relevant.                 Evidently

               20    that information was used to obtain a search warrant in

               21    this case.

               22         THE COURT:       An incident from 2002?

               23         MR. ALBUKERK:       Correct.

               24         THE COURT:       And when was that search warrant issued


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006614
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                 1 because she subpoenaed that information on March 8th of

                 2 2010.     That's when it was file stamped.

                 3                Was there a search warrant issued before

                 4 March 8th of 2010?

                 5         MR. ALBUKERK:      In this case?

                 6                The detective in this case?

                 7                The detective in this case, according to my

                 8 client, used that particular information to secure and/or

                 9 bolster his argument for a search warrant.

               10          THE COURT:      Okay.    And I guess my question is did

               11 this search warrant happen before she sent the subpoena

               12 out?

               13          MR. ALBUKERK:      Yes, because the basis of this case,

               14 in other words --

               15          THE COURT:      Not the new case, you're talking about

               16    the case in front of me, the '08 case?

               17          MR. ALBUKERK:      Yes.

               18          THE COURT:      State, is that accurate?           Were there

               19 search warrants out in 2008 regarding this case that used

               20    information from the '02 burglary or alleged burglary?

               21          MR. PODLASEK:      I would have to review the search

               22    warrant, Judge.

               23          THE COURT:      But there was a search warrant before

               24 2008?



                                                   3-15


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006615
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                           MR. PODLASEK:      I believe there was a search

                    warrant

                           THE COURT:      All right.     Then, Counsel, I will tender

                     o you, not to your client.

                           MR. ALBUKERK:      Certainly, Judge.

                           THE COURT:      Obviously you can't tender any of this

                    information to Miss Melongo.            She doesn't have any

                    ability to have the police reports, since you're well

                    aware at this juncture because she's not representing

               10   herself.

               11          MR. ALBUKERK:      Judge, may I show them to her so that

               12     can review them with her?

               13          THE COURT:      You can review things with her but I

               14 don't want her in custody of those.

               15         MR. ALBUKERK:       No copies, correct.

               16         THE COURT:       All right.     There is a subpoena from

               17 SEC.      There's been a return here with an annual report

               18   from '06 and '07.

               19                I've got a return to sender on the Philadelphia

               20 School District.          I will give that back to you.

               21         MR. ALBUKERK:       Thank you.

               22         THE COURT:       And Exelon Corporation has returned a

               23 subpoena, so I will give that to you as well.

               24         MR. ALEUKERK:       Thank you, Judge.



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006616
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                1         THE COURT:      There's more, Illinois Department of

                2   Commerce and Economic Opportunity, they have tendered

                3 approximately a phone book of information in response to

                4 the subpoena, so I will just tender that to you.

                5         MR. ALBUKERK:       Thank you, Judge.

                6         THE COURT:      And now we've got -- that's all the

                7 documents that I have received.

                8                Now the motion to quash subpoenas filed by the

                9 State on 2 - 22 of '10, are you ready to argue that,

               10 State?

               11         MR. PODLASEK:       We are not, Judge.

              12          THE COURT:      You are not ready to argue that?

              13          MR. PODLASEK:       No.    We would ask that this be

              14 continued by agreement to May 20th.

              15          THE COURT:      All right.      Does that date work for you?

              16          MR. ALBUKERK:       It does, Judge.

              17          THE COURT:      I'm going to hold it over by agreement 5

              18      20 of '10, and that will be for State argument.

              19          MR. PODLASEK:       Judge, on the new case which I don't

              20    believe Counsel has filed an appearance, that's going to

              21 be returned to Branch 98 on May 5th for the indictment.

              22                   believe it will probably come to your Honor's

              23 courtroom that morning.

              24          THE COURT:      Well, generally speaking, the paperwork



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CONFIDENTIAL-SUBJECTTO PROTECTIVEORDER                                                     MELONG0_006617
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                1 is three weeks from the -- if you are going to indict,

                2 three weeks.

                 3         MR. PODLASEK:      Right.     And that's the three-week

                4 date.

                 5         THE COURT:      You think that would be May 5th?

                           MR. PODLASEK:      I checked on my pilot, and it is May

                 7 5th.

                 8         THE COURT:      Are you available on May 5th?

                 9         MR. ALBUKERK:      If I can take a look.

               10          MR. PODLASEK:      We can just step up and continue it

               11 to May 20th, Judge.

               12          THE COURT:      what about you, Mr. Albukerk?

               13          MR. ALBUKERK:      Judge, unfortunately it looks like

               14 May 5th I may be on a trial at the Daley Center.                     I don't

               15 know yet.

               16                Judge, since we don't have control over this,

               17    we are going to ask, you know, only thing I can say, I'm

               18 sorry, I won't be able to be here.

               19                Like I say, I don't know if the trial gets

               20 continued to that day, if there's no trial, then

               21 obviously I will be here.

               22          THE COURT:      Would you like me to set it for May

               23 5th with the thought that you'll be here if you can, and

               24 then agree on a date with the State if you can't, so take



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006618
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                1 their contact information?

                2         MR. ALBUKERK:       Sure.     We have already been in touch

                3 with each other.

                4          THE COURT:      So May 5, I will hold it over by

                 5 agreement May 5 of '10.           I will hold it over for possible

                 6 State arguments on the motion to quash subpoenas and new

                 7 case to arrive, and I will note that Defense Attorney may

                 8 be on trial, may not be able to make it.

                 9         MR. ALBUKERK:      All right.

               10          THE COURT:      Okay.

               11          MR. ALBUKERK:      The only other thing I think that

               12 really needs to be addressed today now is that my client

               13 as I understand it is being held on a no bond hold on a

               14 violation of hail bond.            Correct, I have not filed my

               15 appearance on the violation of bail bond.

               16                However, it is now in front of the Court, and I

               17 think it appropriate that a bond hearing be had since a

               18 no bond hold is only appropriate where my client has

               19 shown that she's some sort of danger to the community and

               20 she's never been accused of a violent offense.

               21         THE COURT:       Well, Counsel, if you want to file your

               22 appearance for the purposes with the understanding that

               23 depending on how your other motion goes, in other words,

               24 I may hold you to your appearance on the case you have


                                                   B-19


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006619
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 21 of 65 PageID #:3598




                   already filed on the '08 regardless of what occurs.

                                With respect to the violation of bail bond, if

                   you want to file your appearance for the bond hearing. I

               4 will allow you to do that with the understanding I might

                   not hold you to -- I won't hold you to representing her

                   on this case for the duration.

                         MR. ALBUKERK:        Judge, I would do that.

                         THE COURT:       Okay.

                         MR. ALBUKERK:        I can file that appearance and we can

              10 have that hearing today now, so we can get that out of

              11 the way.

              12         THE COURT:       Are you going to be ready for a bond

              13 hearing today, State?            On the violation, are you ready?

              14         MR. PODLASEK:        We are ready, Judge.

              15         THE COURT:       Okay.    Leave to file your appearance

              16 will be granted as to the violation of bail bond.

              17                All right.       State, go ahead.

              18         MR. PODLASEK:        Judge, as you know, the State's filed

              19 a violation of bail bond based on the fact that during

              20 the pendency of this case, Miss Melongo has been in

              21 contact with Pamela Taylor.              Pamela Taylor is part of the

              22 Administration of the Cook County Court Reporters Office.

              23                During several phone calls, Miss Melongo

              24 recorded Chose conversations without notifying


                                                  B-20


CONFIDENTIAL-SUBJECTTO PROTECTIVEORDER                                                     MELONG0_006620
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 22 of 65 PageID #:3599




                1 Miss Taylor that her conversations were being recorded.

                2 She then posted those conversations along with transcript

                3 on a website that she runs called, I believe, Illinois

                4 Corruption.net.

                5                Miss Taylor contacted our office after she was

                6    made aware of that her phone conversations had been

                7 recorded surreptitiously.             This is while she was working

                 B   in her capacity as administrator, she was contacted at

                9 the Cook County offices which are located in this

               10 building.

               11                She then asked us if we would take -- she would

               12 like to file a complaint.             We allowed her to do so, and

               13 that's what necessitated the arrest of Miss Melongo on or

               14 about April 13th of 2010.

               15                Miss Melongo has on that same website outlined

               16 the present case, the '08 case, and I wanted to point

               17 this out to your Honor previously, and now seems like a

               18 good time, that she's taken the discovery that we gave

               19 her, including supplemental police reports, and posted

               20 those on that website.           So right now, what we are looking

               21 at are police reports that potentially have identifiers

               22 for various witnesses and/or officers now on the

               23 Internet.

               24                So, Judge, we consider her -- we do consider


                                                  B-21


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006621
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                1 her actually a danger.

                2                She also is on a detainer from ICE at this

                3 point too.

                4         THE COURT:       So a bond is really -- she's being held

                5 on a no bail ICE detainer right now?

                6         MR. PODLASEK:       Right now, she's on a no bail ICE

                7 detainer.

                8         MR. ALBUKERK:       That's not -- Judge, very quickly, as

                9 far as --

               10         MR. PODLASEK:       I have a copy.

               11         MR. ALBUKERK:       Please, I'm just taking a look at it

               12   here.

               13                Judge, only thing that a no bond ICE detainer

               14 means, and it says it right on here, is that she will be

               15 detained for 48 hours to see if they actually want to

               16 hold her.

               17         MR. PODLASEK:       Correct.

               18         MR. ALBUKERK:       My client tells me, and obviously

               19 have to represent this to the Court, that she has no

               20 immigration problems, that she's here completely legally,

               21 and that after that 48 hours, she'll be released, so

               22 there really won't be a problem.

               23                Therefore, that document as much as it will

               24 hold her 48 hours, it may wind up being a nullity.                      We


                                                  B-22


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006622
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                    just don't know.

                                As far as the charges against her --

                          MR. PODLASEK:       I wasn't quite finished.

                          MR. ALBUKERK:       I'm sorry.

                          MR. PODLASEK:       I just wanted to give Counsel a copy.

                                 When she was arrested, Miss Melongo was in

                7 possession of a passport.             The passport was a Haitian

                    passport.

                9                Miss Melongo represented in Bond Court that her

               10 consulate was in Cameroon.             At no time has Miss Melongo

               11 ever indicated to us or to any law enforcement officials

               12 that she's a native of Haiti, so we're asking the federal

               13 government at this time to investigate that, ICE.

               14                  think that she represents a potential for

               15 fleeing of the country prior to the adjudication of her

               16 case in this matter.           We would ask that until such time

               17 as Miss Melongo adjudicates the case, that she be kept on

               18 a no bond as far as the violation of bail bond.

              19          THE COURT:      All right.       Counsel?

              20          MR. ALBUKERK:       Judge, if she had wanted to flee this

              21 country, she would have fled it long ago.                    She had many,

              22 many opportunities.

              23                 As far as her having dual citizenship, there's

              24 nothing illegal about dual citizenship.                   My client has


                                                  B-23


CONFIDENTIAL-SUBJECTTO PROTECTIVEORDER                                                     MELONG0_006623
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                1 lived all over the world.            She's lived in Germany for

                2 many years.

                3                She has dual citizenship with Haiti and

                4 Cameroon.        There is nothing illegal about that.               There's

                 5 nothing wrong about that.            Many United States citizens

                 6 and many people around the world have dual citizenship.

                 7               As far as the only question this Court should

                 S be focused on obviously is the statute and what the
                 9 statute says.           She is not a flight risk because she's

               10 already proven not to be a flight risk.

               11                She's not a danger because she's never been

               12 charged with dangerous acts, any violent acts, anything

               13    at all.

               14                As far as the statute in question is concerned,

               15    if we were in any other state except for Maryland, as I

               16 understand it, this wouldn't even be illegal.

               17                Now considering that we're only talking about

               18 reporting someone, even if we take these allegations by

               19 the way to be true, which we don't know them to be true,

               20 we also know this statute, for instance, provides an

               21 exception if you believe that there is criminal activity

               22    afoot, you are allowed to record somebody.

               23                Judge, I don't know what the facts of this case

               24 are, I don't think the Court knows, and therefore, we


                                                   B-24


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006624
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                1 should simply look to whether or not this is a dangerous

                2 allegation against someone.             We don't know that she has

                3 done anything wrong, and there is not even a hint of any

                4 dangerousness here.

                5                If my client had made some sort of a threat

                6 against someone, I could kind of understand it, but my

                7 client is not a danger to anyone.

                8                She's just been returned fit, and because she's

                9 been returned fit, and she's never been a danger to

               10 anyone, she's never been a threat to anyone, a no bond

               11   hold is completely inappropriate and violates every part

               12 of the United States Constitution as well as the State

               13 statutes.        Therefore, we would ask for a reasonable bond

               14   to be set for a person who's always shown up to court.

               15                There is no harm here.          With all due respect,

               16 we'd ask for a reasonable bond.

               17         THE COURT:        All right.    Thank you.

               18                I'm taking into account all the facts put forth

               19 by the State as well as the Defense.                I'm going to reduce

               20 the bail from a no bail to $500,000-D, hold it over by

               21 agreement 5 - 5          of 110 for possible State argument and

               22 for an update on the ICE detainer.

               23         MR. ALBUKERK:        Could we have a case number on the

               24 VOBB?


                                                  B-25


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006625
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               1         THE COURT:      Should have, yes.

               2                It was filed -- showing it was filed under

               3 08 CR 10502 which is the case in front of me.

               4         MR_ ALBUKERK:        Is that the way that's supposed to be

               5 done?

               6         THE COURT:       Generally in Bond Court, they give it a

               7 different number, but this looks like I think it was

               8 signed by Judge Linn on 4 - 14, so it wasn't actually in

               9 a court.

              10                Did you get a different number when it was

              11 in --

              12         MR. PODLASEK:        They didn't give us a different

              13 number.       They kept the same '08 number when we took it to

              14 the Clerk on the bond hearing.

              15         MR. ALBUKERK:        Then, Judge, there's already my

              16 appearance on file for that, so --

              17         THE COURT:       What's the bond on the '08 case in front

              18 of me?

              19         MR. ALBUKERK:        How much?

              20         THE DEFENDANT:        10,000.

              21         MR. ALBUKERK:        10,000.     10,000-I?

              22                10,000-1, Judge.

              23         THE COURT:      Okay.     So then the order will be fine.

              24 We don't have to add anything to it.


                                                  3-26


CONFIDENTIAL-SUBJECTTO PROTECTIVEORDER                                                     MELONG0_006626
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 28 of 65 PageID #:3605




                1                I'm going to reduce the bond.             I will keep it

                2 under this case number 10502.              It was no bail, it's now

                3 500-D.

                4          MR. PODLASEK:      She also has a $30,000-D bond on the

                 5 new case.

                6          THE COURT:      Okay.    Which is not in front of me so

                 7 I'm not worried about that at this moment.

                8          MR. ALBUKERK:      And it's been set, so --

                 9         THE COURT:      Okay.

               10          MR. PODLASEK:      Judge, could I get a copy of that

               11 detainer back.

               12          THE COURT:      Hold on a second now.

               13                All right.      There is something that was filed

               14 on March 3rd of 2010.            The Defendant's name is Annabel

               15    Melongo.    It was filed by Linda Shelton, a next friend.

               16          MR. ALBUKERK:      Yes, Judge.       I was made aware of

               17 that.

               18                I haven't seen it.

               19         THE COURT:       All right.     That's given the number of

               20    10 Habeas 00007.

               21                And then there's another habeas petition filed

               22 by the same person for Miss Melongo, an emergency writ of

               23 habeas, and this has another website that's detailed.

               24          UNKNOWN PERSON:       Did you call my name?


                                                   B-27


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006627
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                           THE SHERIFF:      Ma'am, step out.

                           THE COURT:      Unless you're a lawyer, unless you're a

                    lawyer, have a seat in the gallery.

                           UNKNOWN PERSON:       I'm the friend on the habeas.

                           THE SHERIFF:      Have a seat, ma'am.

                                  They haven't called your name.            Have a seat.

                           THE COURT:      I'm not going to hear these cases

                    unless -- let me ask you is Linda Shelton, according to

                    the documents sent to me, she is not a lawyer?

               10          MR. ALBUKERK:      She's not a lawyer.

               11          THE COURT:      She's representing herself as a doctor,

               12 so to your knowledge, she's not a lawyer in Illinois?

               13          MR. ALBUKERK:      She's not a lawyer in Illinois.

               14                 She is not representing herself as a doctor, a

               15   medical doctor anymore.          She is no longer -- she's no

               16 longer practicing.

               17                 She was a medical doctor.

               18          THE COURT:      Okay.    All right.      Well, other than pro

               19 se filings from a Defendant that's charged, like Miss

               20 Melongo, if she filed a pro se filing and wanted to be

               21 represented pro se, I would hear that.

               22          UNKNOWN PERSON:       Your Honor, under the law I have a

               23 right --

               24          THE COURT:      Take her out of the courtroom.             Get her


                                                   B-28


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006628
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                 1 out.

                 2                Get her out of this courtroom.             Now.

                 3         UNKNOWN PERSON:       You're committing treason, ma'am.

                 4                You're violating the statute.

                 5         THE COURT:       I am not entertaining those motions by

                 6 that individual, so they will be off call.

                 7                So I will see you back here on 5 - 5.

                 8         THE SHERIFF:        Step in the back.

                 9         MR. ALBUKERK:       Thank you, Judge.

               10          MR. PODLASEK:        Could I have a copy of the detainer

               11 and I will return it to you.

               12          THE COURT:        Why don't you make one copy for each

               13 side.

               14          MR. ALBUKERK:       Oh, Judge, one last favor I would ask

               15    of the Court.         Can we hold her here in the back for just

               16 45 minutes or so I can talk to her about all this?

               17          THE COURT:       Sure.

               18          MR. ALBUKERK:       Thanks, Judge.

               19          MR. PODLASEK:       Thank you, Judge.

               20                (WHEREUPON, THE COURT HEARD OTHER MATTERS;

               21                THEREAFTER, THE FOLLOWING PROCEEDINGS WERE

               22                HAD IN THE AFOREMENTIONED MATTER, TO-WIT:)

               23

               24



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006629
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 31 of 65 PageID #:3608




                 1 STATE OF ILLINOIS          )
                                              )   SS:
                2 COUNTY OF C 0 0 K           )

                3         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                              COUNTY DEPARTMENT - CRIMINAL DIVISION
                4
                   THE PEOPLE OF THE STATE                  )
                 5 OF ILLINOIS,                             )
                                                            )
                6                          Plaintiff,       )
                                                            )
                 7         vs.                              )   No. 08 CR 10502-01
                                                            )   No. 10 CR 08092-01
                8 ANNABEL MELONGO,                          )   No. 10 1110476-01
                                                            )
                 9                         Defendant.       )

               10

               11

               12                REPORT OF PROCEEDINGS had at the hearing of the

               13 above-entitled cause, before the Honorable MARY MARGARET

               14 BROSNAHAN, Judge of said court, on Tuesday, the 20th day

               15    of April, 2010, at the hour of approximately 3:45 o'clock

               16 p.m.

               17
                  Laurel E. Laudien, RMR, RPR, CSR 4084-001871
               18 Official Court Reporter - Circuit Court of Cook County
                  County Department - Criminal Division(773) 674-6065
               19

               20

               21

               22

               23

               24


                                                   B-30


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006630
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 32 of 65 PageID #:3609




                1         THE COURT:       Oh, I'm sorry.       There is one matter

                 2 wanted to address with the Court Reporter that had to do

                3 with an earlier case, not the case on trial.

                4                With respect to the Miss Melongo case, I am not

                 5 certain how much the reporter got on the record with

                6 respect to Linda Shelton who was out in the gallery, and

                 7 I want to put my observations on the record.

                 8               During the course of handling the Melongo

                 9 continuance, which took at least 30 minutes or so,

               10 towards the end of that continuance, my Clerk handed me

               11 for the first time two files that had case numbers on

               12 them of habeas petitions, 10 CR, and I looked through

               13 them, and they were authored by Linda Shelton.

               14                Now that is the same individual whose name was

               15 on the earlier documents that I tendered to Mr. Podlasek

               16 and Mr. Albukerk with respect to communications I had

               17 about the case where Miss Shelton had authored several

               18 documents to me, included blogs, et cetera, and was

               19 giving me her opinion as to how the rulings should go in

               20 the melongo case.          I indicated that that was

               21 inappropriate, made the parties aware of it, and gave

               22 them all those documents.

               23                Later on during the continuance as T thought

               24 the case was coming to a close and we were going to be


                                                  B-31


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006631
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 33 of 65 PageID #:3610




                 1 giving it a date, I was, as I said, handed two documents

                 2 about habeas petitions for Miss Melongo's case.                    I was

                 3 obviously confused having never seen it before, because

                 4 she had an attorney, Mr. Albukerk, now on the case, and

                 5 as I read them, it indicated that they were prepared by

                 6 Linda Shelton which I said on the record.

                                  At that moment, a woman in the gallery, Linda

                 8 Shelton, attempted to come into the courtroom saying,

                 9 "Did you call my name?           Did you call my name?"           And at

               10 that time, I asked her if she wasn't an attorney, to have

               11 a seat.

               12                And at that point, Miss Shelton in the gallery

               13 began disrupting the entire gallery, the entire

               14 courtroom, fighting, trying to get into the courtroom,

               15 and screaming that I was committing treason, and other

               16 things, so at that point, I ordered that she be taken out

               17 of my courtroom.

               18                Subsequently I learned that she had been up in

               19 the Clerk's office today while this case was going on

               20 filing emergency habeas petitions, et cetera, which is

               21 what was delivered to me in the midst of my court call,

               22 so I just wanted to supplement the record on the Melongo

               23 case.

               24                And I obviously questioned Mr. Albukerk about


                                                  B- 32



CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006632
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 34 of 65 PageID #:3611




                1   Miss Shelton.          He was aware of her.       He indicated she was

                 2 not an attorney, and I indicated I would not he hearing

                 3 those petitions which upon review had no merit

                4   whatsoever.      They simply challenged the probable cause

                    for the original arrest and they were not the basis of

                6   what any habeas could be, not to mention the fact that

                7   Miss Melongo can certainly advocate for herself having

                8 been pro se and been found fit for trial.

                9                All right.       We will be in recess until

               10   tomorrow.

               11                Thank you.

               12                          (WHEREUPON, THE PROCEEDINGS WERE

               13                          ADJOURNED TO BE RECONVENED ON MAY 5,

               14                          2010, AT 9:30 O'CLOCK A.M.)

               15

               16

               17

               18

               19

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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006633
            Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 35 of 65 PageID #:3612




                 1         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                               COUNTY DEPARTMENT - CRIMINAL DIVISION
                 2

                 3

                 4                I, Laurel E. Laudien, an Official Court Reporter

                 5   for the Circuit Court of Cook County, County Department -

                 6   Criminal Division, do hereby certify that I reported in

                 7   shorthand the proceedings had at the hearing in the

                 8   above-entitled cause; that I thereafter caused the

                 9   foregoing to be transcribed into typewriting, which I

               10    hereby certify to be a true and accurate transcript of the

               11    proceedings had before the Honorable MARY MARGARET

               12    BROSNAHAN, Judge of said court.

               13

               14

               15

               16
                                                     Official Court RQ.A.rter
               17                                    RMR, RPR, CSR 4084-001871

               18

               19

               20

               21

               22

               23    Dated this 2nd day

               24    of July, 2013.



                                                  B-34


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MELONG0_006634
Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 36 of 65 PageID #:3613




            Exhibit 21
          .·~ .    .
                  Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 37 of 65 PageID #:3614
              ...
              ~




                                                    STATE OF ILLINOIS
                                         IN THE FIRST DISTRICT APPELLATE COURT


                    People of the State of Illinois ,      )
                           Prosecutor I Appellee           )
                                                           )        No.    .fO     - ;( 0    64
                                    v.                     )
                                                           )
                    Annabel K. Melongo                     )        From the Circuit Court of Cook
                          Defendant/Appellant              )        County, Criminal Division
                                                           )        Case Nos. 08 CR 10502, 10 CR0809201
                                                           )        The Honorable Brosnahan
                                                           )
                                                                                                             \) ( ,,                      ~~5                ~
                                                                                                             r-- ..::..;             · --                    -
                                                                                                            r:, rr-..               <:-"'               {;;

                    AMENDED VERIFIED MOTIO~:~L~~~~': IN THE APPELLATE C!~~T ,:~                                                                 ~.. ~
                                                                                                                                   ..,,         t_) ·· · ~
                                                                                                         "":-) • . •           C.,;;>           ... .. .

                          NOW COMES, Annabel K. Melongo, by and through her counsel, J. Nicqla~~.~- ~~:·                                    Bt~-
                                                                                                       .-       -·-
                                                                                                 ;?.:; :~~ ._. t~J                          ....;:~-
                                                                                                                                                r·:
                    Albukerk, and respectfully moves this Honorable Court to reduce her excessiveoond (~~
                                                                                                                       .r.--
                    pursuant to the State of Illinois Const. Article I Section 9 and the Eighth Amendment to

                    the United States Constitution. In support of this motion, the Defendant states:

                        1. On November 15, 2006, the Defendant was charged with Computer Tampering.

                        2. Upon being made aware of the charges she surrendered herself to a judge in the

                            Rolling Meadows Co~ouse.

                        3. She was later released on an 1-Bond because she has no criminal background and

                            the offense for which she was charged was nonviolent in nature.

                        4. On January 17, 2007, she was indicted in Chicago, IL on the same charges and

                            her Rolling Meadows I-Bond was transferred.

                        5. In May of2008, a new indictment for the same charge, computer tampering,

                            superseded the January 2007 case and the I-Bond was transferred a new.




                                                                I

CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                  MELONG0_014304
             Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 38 of 65 PageID #:3615




                   6. On April 13, 2010, Annabel Melongo was arrested for the new offense of

                      Eavesdropping.

                   7. On April14, 2010, at bond court, the same prosecutor who was handling the

                      computer tampering charges, requested and received a $30,000.00 D Bond on the

                      new charge of Eavesdropping.

                   8. On April15, 2010, the same prosecutors then asked Judge Brosnahan to issue a

                      new bond for the computer tampering charges alleging violation of the

                      outstanding I-Bond.

                   9. On Apri120, 2010, with the Defendant's attorney present, Judge Brosnahan set

                      the computer tampering bond at $500,000 D.

                   10. On May 5, 2010, the Defendant's lawyer motioned the Court to reduce the

                      excessive bond. Judge Brosnahan lowered the bond to a $300,000 D.

                   11. To be out on bond, Annabel Melongo needs $33,000.00.

                   12. Prior to being arrested in May of 2006 Ms. Melongo was a computer networking

                      expert who worked as a sub-contractor for Robert Half and Associates, a

                      computer technology firm, she earned just over $1,000/week. Since that time

                      Ms. Melongo, despite having a computer scien?e degree, has repeatedly been

                      denied steady long term employment because of the pending criminal charges

                      against her. She is currently indigent. Ms. Melongo is a citizen of Cameroon ./

                      who entered this country on an education Visa. She has lived in the Un~ted

                      States for the past ten years. Her family is scattered around the world. Ms.

                      Melongo's mother is in France. No person in her family is a person of wealth or

                      means. Ms. Melongo' s Mother was able to provide a s~ali deposit for the




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                MELONG0_014305
            ... Case: 1:13-cv-04924 Document #: 295-3 Filed: 10/12/18 Page 39 of 65 PageID #:3616

                      ·services of her attorney; however, that attorney is currently seeking appointment

                      by the Court, because the deposit is not enough to compensate Mr. Albukerk or

                      any other attorney.

                          a. Ms. Melongo's complete work and education history for the past ten

                              years (all dates are approximate): She attended the University of

                              Missouri, Kansas City in 2001 and 2002 where she studied computer

                              science and software engineering. She worked for UPS as a packager

                              from 2003- 2005 while she sought her degree in computer science and

                              established herself in the Chicago area From 2003 through 2006 she

                             went to, and completed the course work for her computer science degree

                              at, Roosevelt University, Chicago IL. From 2006 until her arrest in April

                              of 2010 Ms. Melongo worked as an independent contractor: In 2006 Ms.

                              Melongo worked for Trondent Computer consulting for 5 months;

                              Walgreens, software engineer one month in 2007 (terminated because of

                              pending charges); Compu Systems, software engineer for six months in

                              2007; Google, software engineer 2009 for 2 months, (again, tenninated

                              because of pending charges); Adecco, Evanston IL, software engineer, 2

                              weeks in 2009; Robert Half and Associates, computer consultants: 2005

                             -2006.

                          b. Ms. Melongo's history of residency for the past ten years: (all dates are

                              approximate) from 2000 to 2003 Ms. Melongo lived on Harrison St. in

                              Kansas City, KS; from January 2003 - 2004 she lived on Amber Circle

                             located in Naperville IL; from January ' 04 to Jan ' 07 she resided at 1218



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                              Long Valley Dr. Palatine IL; from January of '07 to June of 2009 she

                              lived at 9200 Hamilton Court Apt C. Des Plaines IL until she could no

                              longer afford the rent; she lived at 105 N. Grant Rd., Addison, IL at her

                              friend's house from June 2009- April2010 when she was arrested.

                   13. The Eighth Amendment to the United States Constitution as well as Article I

                      Section 9 of the lllinois Constitution protects the accused against excessive bond.

                      Stackv. Boyle, 342 U.S. 1, 72 S.Ct. 1 (1951).

                   14. Based on the above it is appropriate to reduce the Defendant's bail for the

                      following reasons:

                          a. Annabel Melongo has consistently demonstrated her willingness to face

                              the criminal charges against her in that:

                                     1.      She surrendered herself to authorities in Rolling Meadows.

                                    ii.     She has diligently attended every Court date for the past four

                                            years while defending herself from charges of Computer

                                            Tampering.

                          b. The pending criminal charges against her, Computer Tampering and

                              Eavesdropping, are nonviolent in nature.

                                     1.   In fact the new charge of Eavesdropping, which gave rise to

                                          the Court setting new bonds requiring the Defendant to procure

                                          $33,000 for her freedom, is not only nonviolent, it is also

                                          without pecuniary loss. Illinois is one of only four States that

                                          makes the alleged conduct a felony. Most States in this




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                                         Country do not make the conduct of recording a conversation

                                         without both parties' consent illegal at all.

                          c. Her alleged recordings do not constitute a crime under the Eavesdropping

                               Exemption 720 ILCS 5/14.3(i). She allegedly recorded a phone

                               conversations between herself and Cook County's Court Reporter

                               Assistant Manager, Pamela Taylor, when, in good faith, she believed that

                               her court transcripts had been tampered with. Ms. Melongo later reported

                               what she thought to be an alleged crime to FBI agent Dona Depooter, as

                               well as sending an e-mail to the FBI general mailbox.

                          d. Besides these two cases Ms. Melongo has no other criminal background.



                               WHEREFORE, For the foregoing reasons, Annabel K. Melongo, who has

                      been in Cook County Jail for three months, begs this Honorable Court to reduce

                      her $300,000.00 D bond and 30,000 D bond to I-Bonds, or in the alternative, to no

                      more than a total of$3,000 to be paid to secure her release and appearance in

                      Court.



               Respectfully Submitted,




                lbukerk and Associates
               111 E. Wacker Dr. Suite 555
               Chicago IL 60601
               773 847 2600
               Atty # 37955


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                    Under penalties as provided by law pursuant to 735 ILCS 5/109-1 I, Annabel Melongo,
                    certify that the statements set forth herein are true and correct.




                    July   'if.k , 2010




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            Exhibit 26
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                         CONFIDENTIAL- S U B J ~ PROTECTIVE ORDER


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                                      Sheriff's Women's Justice Programs
                              STATUS REPORT OF TREATMENT PROGRESSION




Current Program:




Urine Screen: # Positive- 0       #Negative-            Date of last urine screen: 10/20/2011            neg.



      Recommendations:
The Cook County Sheriff's Women's Justice Program (SWJP) provides women with a gender responsive
integrated model of treatment that empowers them to use healthy coping skills for on-going recovery. The women
are empowered to break the cycle o f addiction through group and individual treatment serviceS that are trauma
infonned and focus on substance abuse and mental health needs as wetl as criminal thinking.

Ms. Melongo was admitted to the Sheriff Female Furlough Program on 10120/il and has completed 22 days in our
program. She has been an active participant and appears to be responding well to treatment offered to her.
Currently, she is participating in the following groups: Stress Management, Maladaptive Thinking, Community Re-
Entry~ Self-Esteem, Prostitution Anonymous, Coping Skills, Women's Health, Domestic Violence, 12-Steps, Life
Skills, Women and Relationships, Yoga, and Expressive Therapy. Ms. Melongo stated she is cuncntly looking for
employment opportunities.

The clinical team recommends that upon discharge, Ms. Melongo continue to participate in outpatient treatment in
the community, as well as seek out additional community support She will continue to be eligible for aftercare
services at our Empowerment Center.               ·




                                MELONGO V. PODLASEK, et al., 13 C 4924
                                          CCSAO 000313
